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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                  Fee Examiner

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In Re:                                              Case No.:    21-30589 (MBK)

LTL MANAGEMENT LLC,                                 Judge:       Michael B. Kaplan

                      Debtor                        Chapter 11



  ORDER ALLOWING INTERIM COMPENSATION FOR SERVICES RENDERED AND
    REIMBURSENT OF EXPENSES OF BROWN RUDNICK LLP AND RAYBURN
     COOPER & DURHAM, P.A. FOR THE PERIOD FROM OCTOBER 14, 2021
                     THROUGH JANUARY 31, 2022

      The relief set forth on the following pages(s), number two (2) through three (3), is hereby
  ORDERED.
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LTL MANAGEMENT LLC
Chapter 11, Case No. : 21-30589 (MBK)
Order Granting Interim Compensation for Retained Professionals


           Upon the interim fee applications (the “Interim Applications”) of the professionals

retained in the above-captioned Debtor’s chapter 11 case listed on Exhibit A hereto

(collectively, the “Retained Professionals” and each a “Retained Professional”),1 and this Court

having previously authorized the employment of the Retained Professionals in the Debtor’s case;

and it appearing that all of the requirements of sections 327, 328, 330, and 331 of title 11 of the

United States Code, as well as Rule 2016 of the Federal Rules of Bankruptcy Procedure and the

local rules of this Court have been satisfied; and it further appearing that the fees and expenses

incurred were reasonable and necessary; and proper and adequate notice of the Interim

Applications has been given and that no other or further notice is necessary; and no objections or

other responses having been filed with regard to the Interim Applications; and in consideration of

the various recommendations of the fee examiner, Robert J. Keach (the “Fee Examiner”) with

respect to the Interim Applications as set forth in the Fee Examiner’s Consolidated Supplemental

Final Report Pertaining to the Interim Fee Applications of Brown Rudnick LLP and Rayburn

Cooper & Durham, P.A. for the Period From October 14, 2021 through January 31, 2022

[Docket No. __] (the “Supplemental Report”); and the Court having considered the Interim

Applications of the Retained Professionals and the Supplemental Report, and good and sufficient

cause appearing therefore, accordingly,

           IT IS HEREBY ORDERED THAT:




1
  As noted on Exhibit A, the fee application of one of the Retained Professionals, Rayburn Cooper & Durham, P.A.,
is its first interim and final fee application.
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LTL MANAGEMENT LLC
Chapter 11, Case No. : 21-30589 (MBK)
Order Granting Interim Compensation for Retained Professionals


           1.   The Interim Applications are hereby approved in the amounts set forth on Exhibit

A attached to this Order.

           2.   The Retained Professionals are hereby granted allowance of compensation and

reimbursement of expenses in the amounts set forth on Exhibit A under the columns entitled

“Total Amount Allowed per Court Order (Fees)” and “Total Amount Allowed per Court Order

(Expenses)” (jointly, the “Allowed Professional Claims”).

           3.   The Debtor is hereby authorized and directed to remit to each Retained

Professional the full amount of the Allowed Professional Claims less any and all amounts

previously paid on account of such fees and expenses. Without limiting the foregoing, any

amounts previously held back with respect to the period covered by the Interim Applications

may be released in payment of the Allowed Professional Claims.

           4.   This Order shall constitute a separate order for each Retained Professional and the

appeal of any order with respect to any Retained Professional shall have no effect on the

authorized fees and expenses of the other Retained Professionals.

           5.   This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation or interpretation of this Order.
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                                  Exhibit A
                                 Case 21-30589-MBK                           Doc 2547-2 Filed 06/21/22 Entered 06/21/22 16:19:55                                                      Desc
                                                                                        LTL MANAGEMENT LLC
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                                                                                                       CASE NO. 21-30589-MBK



                                                                                                                                                                                                              Total Amount
                                                                                                                                      Fee Examiner's                     Fee Examiner's      Total Amount
                                                      1                                First Compensation          Interim Fees                      Interim Expenses                                         Allowed per
                                            Applicant                                                                               Recommended Fee                      Recommended      Allowed per Court
                                                                                              Period                Requested                           Requested                                              Court Order
                                                                                                                                       Adjustments                    Expense Adjustments    Order (Fees)
                                                                                                                                                                                                                (Expenses)
             First Interim Fee Application
             Co-Counsel to the Official Committee of Talc Claimants I
       1
             Brown Rudnick LLP [Dkt. No. 1761]                                         11/12/21 - 2/28/22     $        7,758,952.75 $      560,239.50 $    298,265.35 $          2,639.57 $    7,198,713.25 $   295,625.78
             Co-Counsel to the Debtors
       2
             Rayburn Cooper & Durham, P.A. [Docket No. 1748]2                          10/14/21 - 2/28/22     $          190,866.50 $       12,424.20 $     12,957.89 $               -   $      178,442.30 $    12,957.89
             TOTALS                                                                                           $        7,949,819.25 $      572,663.70 $    311,223.24 $          2,639.57 $    7,377,155.55 $   308,583.67

1
    Cooley LLP [Dkt. No. 1767] requested adjournment to the September 14, 2022 omnibus hearing date.
2
    First Interim and Final Fee Application




                                                                                                                  1 of 1
